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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                              CRIMINAL ACTION

VERSUS                                                                NO. 10-204

GERARD DUGUE                                                          SECTION "N" (1)


                                    ORDER AND REASONS

               Presently before the Court is the Government's "Motion to Proceed with Scheduled

Trial Date" (Rec. Doc. 908)(Sealed). With this motion, the Government argues that trial should

commence, as scheduled, on Tuesday, May 29, 2012, notwithstanding Defendant's Notice of Appeal

filed relative to the Court's April 26, 2012 Order and Reasons. See Rec. Docs. 860 and 895 (Sealed).

On the showing made, IT IS ORDERED that the Government's motion is DENIED. Although the

Court found Defendant's motion to dismiss indictment on double jeopardy grounds (Rec. Doc. 766)

to be without merit, the Court does not find the motion to have been frivolous or dilatory. Rather,

it presented a colorable double jeopardy claim. See United States v. Dunbar, 611 F.2d 985, 987 (5th

Cir. 1980); United States v. Kalish, 690 F.2d 1144, 1154-55 (5th Cir. 1982). Accordingly, given

the pending appeal of the Court's denial of the motion, the Court cancels the May 29, 2012 trial date,

as well as the conferences scheduled to be held on Thursday, May 17 and 24, 2012.

               The Court hopes that a final resolution of this matter can be achieved as promptly as
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possible. Thus, IT IS FURTHERED ORDERED that, within seven (7) days from entry of this

Order and Reasons, Defendant is to request that the Fifth Circuit consider his appeal of this Court's

April 26, 2012 double jeopardy ruling on an expedited basis.

               Considering that Defendant has been directed to seek expedited consideration of his

appeal, IT IS FINALLY ORDERED that trial shall commence, unless otherwise ordered, on

Monday, August 6, 2012, at 8:30 a.m, with a final pre-trial conference to be held, by telephone, on

Thursday, July 26, 2012 at 10:00 a.m., and a status conference to be held, in chambers, on Thursday,

August 2, 2012, at 11:00 a.m.

               New Orleans, Louisiana, this 15th day of May 2012.




                                                      KURT D. ENGELHARDT
                                                      UNITED STATES DISTRICT JUDGE




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